         Case 4:19-cv-00044-BMM Document 10 Filed 07/08/19 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


 NORTHERN PLAINS RESOURCE
 COUNCIL, BOLD ALLIANCE,
 CENTER FOR BIOLOGICAL                              CV-19-44-GF-BMM
 DIVERSITY, FRIENDS OF THE
 EARTH, NATURAL RESOURCES
 DEFENSE COUNCIL, INC., and                          AMENDED ORDER
 SIERRA CLUB,

 Plaintiffs,

 v.

 U.S. ARMY CORPS OF ENGINEERS
 and LIEUTENANT GENERAL TODD
 T. SEMONITE (in his official capacity
 as U.S. Army Chief of Engineers and
 Commanding General of the U.S.
 Army Corps of Engineers),

 Defendants.


       Plaintiffs have moved for an order allowing Doug Hayes, Esq., Eric Huber,

Esq., Jackie Prange, Esq. Cecelia Segal, Esq., Jared Margolis, Esq. and Amy

Atwood, Esq. to appear pro hac vice in this case with Timothy M. Bechtold,
           Case 4:19-cv-00044-BMM Document 10 Filed 07/08/19 Page 2 of 4



Bechtold Law Firm, designated as local counsel. The applications of Doug Hayes,

Esq., Eric Huber, Esq., Jackie Prange, Esq. Cecelia Segal, Esq., Jared Margolis,

Esq. and Amy Atwood, Esq. appear to be in compliance with L.R. 83.1(d).

      IT IS ORDERED:

      Plaintiffs’ motions to allow Doug Hayes, Esq., Eric Huber, Esq., Jackie

Prange, Esq. Cecelia Segal, Esq., Jared Margolis, Esq. and Amy Atwood, Esq. to

appear on its behalf (Docs. 3, 4, 5, 6, 7 and 8) are GRANTED, subject to the

following conditions:

      1.      Local counsel shall exercise the responsibilities required by L.R.

83.1(d)(5) and must be designated as lead counsel or as co-lead counsel;

      2.      Only one attorney appearing pro hac vice may act as co-lead counsel;

      3.      Doug Hayes, Esq., Eric Huber, Esq., Jackie Prange, Esq. Cecelia Segal,

Esq., Jared Margolis, Esq. and Amy Atwood, Esq. must do their own work. They

must do their own writing, sign their own pleadings, motions, briefs, and, if

designated co-lead counsel, must appear and participate personally in all

proceedings before the Court;

      4.      Local counsel shall also sign all such pleadings, motions and briefs and

other documents served or filed; and




                                          -2-
           Case 4:19-cv-00044-BMM Document 10 Filed 07/08/19 Page 3 of 4



      5.      Admission is personal to Doug Hayes, Esq., Eric Huber, Esq., Jackie

Prange, Esq., Cecelia Segal, Esq., Jared Margolis, Esq. and Amy Atwood, Esq., it is

not an admission of their law firm.

      IT IS FURTHER ORDERED:

      Doug Hayes, Esq., Eric Huber, Esq., Jackie Prange, Esq. Cecelia Segal, Esq.,

Jared Margolis, Esq. and Amy Atwood, Esq., within fifteen (15) days from the date

of this Order, an acknowledgment and acceptance of their admission under the

terms set forth above.

      DATED this 8th day of July, 2019.




                                         -3-
Case 4:19-cv-00044-BMM Document 10 Filed 07/08/19 Page 4 of 4
